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14                                UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                    SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF GOVERNMENT                                  Case No. 3:25-cv-01780-
18    EMPLOYEES, AFL-CIO; AMERICAN FEDERATION OF                         WHA
      STATE COUNTY AND MUNICIPAL EMPLOYEES, AFL-
19    CIO; AFGE LOCAL 1216; UNITED NURSES                                FIRST AMENDED
      ASSOCIATIONS OF CALIFORNIA/UNION OF HEALTH                         COMPLAINT FOR
20    CARE PROFESSIONALS, AFSCME, AFL-CIO; AFGE                          DECLARATORY AND
      LOCAL 2110; MAIN STREET ALLIANCE; COALITION TO                     INJUNCTIVE RELIEF
21    PROTECT AMERICA’S NATIONAL PARKS; WESTERN
22    WATERSHEDS PROJECT; VOTE VETS ACTION FUND
      INC.; and COMMON DEFENSE CIVIC ENGAGEMENT,
23
               Plaintiffs,
24
          v.
25
      UNITED STATES OFFICE OF PERSONNEL
26    MANAGEMENT and CHARLES EZELL, in his official
27    capacity as Acting Director of the U.S. Office of Personnel
      Management,
28                                                 Defendants.

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1          Plaintiffs American Federation of Government Employees, AFL-CIO (“AFGE”), American

2    Federation of State County and Municipal Employees, AFL-CIO (“AFSCME”), AFGE Local 1216,

3    and United Nurses Associations of California/Union of Health Care Professionals, AFSCME, AFL-

4    CIO (“UNAC/UHCP”), AFGE Local 2110 (collectively, “Union Plaintiffs”), Main Street Alliance,

5    Coalition To Protect America’s National Parks, Western Watersheds Project, Vote Vets Action Fund

6    Inc., and Common Defense Civic Engagement (collectively, “Plaintiffs”), file this complaint seeking

7    to enjoin the terminations of tens of thousands of federal employees in contravention of federal

8    constitutional and statutory law, against Defendants the United States Office of Personnel

9    Management (“OPM”) and Acting OPM Director Charles Ezell, and hereby plead as follows:

10                                             INTRODUCTION

11           1.     On February 13, 2025, Defendant OPM and its newly appointed Acting Director,

12   Defendant Charles Ezell, ordered federal agencies across the country to terminate tens of thousands

13   of federal employees by sending them standardized notices of termination, drafted by OPM, that

14   falsely state that the terminations are for performance reasons.

15           2.     Probationary employees are employees of the competitive service in their first year of

16   employment, and employees of the excepted service in their first two years of employment (hereafter

17   collectively “probationary employees”). Probationary employees may include experienced federal

18   employees who have recently become employed in a new position or a new agency.

19           3.     OPM’s directive that federal agencies terminate these employees en masse, on

20   pretextual grounds, seeks to further the newly elected Presidential Administration’s policy goals of

21   dramatically curtailing the size and spending of the federal government. But Congress, not OPM,

22   controls and authorizes federal employment and related spending by the federal administrative

23   agencies, and Congress has determined that each agency is responsible for managing its own

24   employees. OPM lacks the constitutional, statutory, or regulatory authority to order federal agencies

25   to terminate employees in this fashion that Congress has authorized those agencies to hire and

26   manage, and certainly has no authority to require agencies to perpetrate a massive fraud on the

27   federal workforce by lying about federal workers’ “performance,” to detriment of those workers, their

28

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1    families, and all those in the public and private sectors who rely upon those workers for important

2    services.

3             4.    OPM is an agency with no statutory authority to make termination decisions for

4    federal employees (other than for OPM’s own employees). Notwithstanding this lack of legal

5    authority, OPM ordered federal agencies throughout the nation, including in this District, to wipe out

6    their ranks of probationary employees without any regard to applicable statutes, including the

7    Administrative Procedure Act (“APA”) and statutes governing federal employment and the respective

8    roles of OPM and the agencies.

9             5.    OPM also ordered the agencies to use a template e-mail to terminate these workers,

10   provided by OPM, that falsely inform employees that their terminations are for performance reasons

11   rather than as part of a government-wide policy to reduce headcount that was authorized by no law.

12            6.    The federal agencies that followed OPM’s directive did not otherwise have plans to

13   terminate the entirety of their probationary workforce, who were employed in authorized positions to

14   perform services that in each agency’s judgment were needed to perform their statutorily mandated

15   role. In fact, some agencies have confirmed to their employees that they did not want to terminate

16   their probationary employees but were directed to do so by OPM. And they have confirmed that the

17   notices of termination mandated by OPM were false, because the agencies were not firing the

18   workers for performance reasons.

19            7.    As of the filing of this Complaint, tens of thousands of probationary employees across

20   dozens of federal agencies have already been terminated in the summary, assembly-line fashion

21   directed by OPM. Each day, more such employees receive notice of the termination of their federal

22   employment. The terminations have been conducted summarily, without any advance notice to the

23   affected employees, throwing their lives, their families’ lives, and the entire federal government into

24   chaos.

25            8.    OPM, the federal agency charged with implementing this nation’s employment laws,

26   in one fell swoop has perpetrated one of the most massive employment frauds in the history of this

27   country, telling tens of thousands of workers that they are being fired for performance reasons, when

28   they most certainly were not.

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1             9.    OPM’s program is an unlawful ultra vires action outside the scope of any statutory or

2    Constitutional authority. OPM’s program also violates the APA’s prohibitions of unlawful, arbitrary

3    and capricious, and procedurally improper agency action (including because this government-wide

4    action was taken without notice and comment rule-making). Where, as here, a federal agency has

5    engaged in unlawful action contrary to the APA, the courts “shall …hold unlawful and set aside” that

6    action. 5 U.S.C. § 702(2).

7             10.   The APA, was designed to “serve as the fundamental charter of the administrative

8    state.” Kisor v. Wilkie, 588 U.S. 558, 580 (2019) (plurality opinion) (internal quotation marks

9    omitted). As the Supreme Court recently explained, “Congress in 1946 enacted the APA ‘as a check

10   upon administrators whose zeal might otherwise have carried them to excesses not contemplated in

11   legislation creating their offices.’” Loper Bright Enterprises v. Raimondo, 603 U.S. 369, 391 (2024)

12   (quoting United States v. Morton Salt Co., 338 U.S. 632, 644 (1950)). OPM’s actions disrupt the

13   constitutional balance of power and violate numerous federal statutes, running roughshod over

14   fundamental protections against unlawful and arbitrary federal action.

15            11.   The Court should immediately enjoin OPM and all those acting in concert with it to

16   cease implementation of its unlawful order requiring these mass pretextual terminations of

17   probationary federal employees and to rescind the unlawful terminations that already have occurred.

18                                     JURISDICTION AND VENUE

19            12.   This Court has jurisdiction pursuant to 28 U.S.C. § 1331.
20            13.   Venue is appropriate in this district under 28 U.S.C. § 1391(e). Plaintiffs AFGE and
21   AFGE Local 1216 represent probationary and trial-period federal employees whose place of
22   employment is within the Northern District of California, and who have been terminated, or are
23   subject to termination, because of OPM’s illegal program.
24            14.   Intradistrict assignment is appropriate in the San Francisco/Oakland division of this
25   Court.
26                                                 PARTIES
27            15.   Plaintiff AFGE, AFL-CIO, is a labor organization and unincorporated association
28   headquartered at 80 F Street N.W., Washington, D.C. 20001. AFGE, the largest union of federal
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1    employees, represents approximately 800,000 federal civilian employees through its affiliated

2    councils and locals in every state in the United States, including employees of numerous agencies of

3    the federal government, including the Department of Veterans Affairs (“VA”), Department of

4    Education, National Institutes of Health, Small Business Administration, and others. AFGE

5    represents employees of the VA who are employed in San Francisco, Oakland, San Bruno, Eureka,

6    Ukiah, Clearlake, and Martinez, California.

7           16.     Plaintiff AFSCME, AFL-CIO, is a labor organization and unincorporated association

8    headquartered at 1625 L Street, N.W., Washington, D.C. 20036. AFSCME is the largest trade union

9    of public employees in the United States, with 1.4 million members organized into approximately

10   3,400 local unions, 58 councils and affiliates in 46 states, the District of Columbia and Puerto Rico.

11   AFSCME unions represent federal civilian employees in numerous agencies and departments across

12   the federal government, including the Federal Aviation Administration, the Department of

13   Agriculture, the Peace Corps, Americorps, and the Veterans Administration.

14          17.     Plaintiff AFGE Local 1216 is a labor organization and unincorporated association

15   headquartered at 4150 Clement Street, San Francisco, California 94121. AFGE Local 1216

16   represents hundreds of VA employees who are employed in San Francisco, California.

17          18.     Plaintiff United Nurses Association of California/United Health Care Professionals,

18   AFSCME, AFL-CIO (“UNAC”), is a labor organization and an unincorporated association

19   headquartered at 955 Overland Ct., Suite 150, San Dimas, California 91773. UNAC represents

20   employees of the VA who are employed at Pettis Memorial Hospital in Loma Linda, California.

21          19.     Plaintiff AFGE Local 2110 is a labor organization and unincorporated association

22   headquartered in Palo Alto, California. AFGE Local 2110 represents approximately 4,000 employees

23   of the VA at the VA Palo Alto Health Care System, including its Menlo Park and Livermore

24   Divisions, and at several Community-Based Outpatient Clinics in Fremont, San Jose, Monterey, and

25   Capitola. Those employees work in all non-supervisory classifications, including doctors, nurses,

26   emergency medical services personnel, food service workers, custodial staff, and administrative staff.

27          20.     Plaintiff Main Street Alliance (“MSA”) is a national network of small businesses, with

28   approximately 30,000 members throughout the United States. MSA helps small business owners

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1    realize their full potential as leaders for a just future that prioritizes good jobs, equity, and community

2    through organizing, research, and policy advocacy. MSA also seeks to amplify the voices of its small

3    business membership by sharing their experiences with the aim of creating an economy where all

4    small business owners have an equal opportunity to succeed. MSA is nonpartisan and is a §501(c)(3)

5    organization. MSA has approximately 1,410 small business members in California, including more

6    than 70 small businesses in Alameda, Santa Clara, San Francisco, Sonoma, and Contra Costa

7    Counties.

8              21.   Plaintiff Coalition to Protect America’s National Parks (“Coalition”) is a non-profit

9    organization made up of over 3,400 members, all of whom are current, former, and retired employees

10   and volunteers of the National Park Service. Together, they have accumulated over 50,000 years of

11   experience caring for America’s most valuable natural and cultural resources. The Coalition’s goal is

12   to support the preservation and protection of the National Park System and the mission-related

13   programs of the National Park Service (“NPS”) to ensure the survival of the park system for

14   generations to come. The Coalition’s members are regular and avid users of the National Park

15   System and NPS programs.

16             22.   Plaintiff Western Watersheds Project (“WWP”) is a non-profit environmental

17   conservation group that works to influence and improve public lands management throughout the

18   western United States to protect native species and conserve and restore the habitats they depend

19   on. WWP’s primary focus is on the negative impacts of livestock grazing, including harm to

20   ecological, biological, cultural, historic, archeological, scenic resources, wilderness values, roadless

21   areas, Wilderness Study Areas and designated Wilderness. WWP was founded in 1993 and has more

22   than 14,000 members and supporters and field offices in Idaho, Montana, Wyoming, Arizona,

23   Nevada, and Oregon. WWP covers over 250 million acres of public land spanning all of the western

24   states.

25             23.   Plaintiff Vote Vets Action Fund Inc. (“VoteVets”) is a non-partisan, non-profit

26   organization incorporated under the laws of the District of Columbia. Its purpose is to lift up the

27   voices of veterans on matters of national security, veterans’ care, and everyday issues that affect the

28   lives of those who served as well as their families including foreign policy, veterans’ unemployment,

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1    robust investment in care for veterans, energy security, protecting the rights of those who serve, and

2    upholding the Constitution and democracy that every military member swore to uphold and protect.

3    VoteVets has nearly two million supporters across the country, in all fifty states, with whom it

4    regularly communicates about issues affecting veterans, including the operations, programs, and

5    services available through the VA. Approximately 417,000 of VoteVets’ supporters live in California,

6    including 131,000 in Northern California.

7            24.    Plaintiff Common Defense Civic Engagement (“Common Defense”) is a grassroots

8    membership organization of progressive veterans, military families, and civilian supporters standing

9    up for our communities against the rising tide of racism, hate, and violence. Common Defense

10   invests in the leadership of its members through training and deployment in campaigns that connect

11   directly to their history of service, including voting rights, climate justice, and anti-militarism.

12   Approximately 33,187 of Common Defense’s members live in California, including approximately

13   2,000 veterans.

14           25.    Plaintiffs bring the claims in this complaint on their own behalf and on behalf of their

15   members.

16           26.    Defendant Office of Personnel Management (“OPM”) is a federal agency

17   headquartered in Washington, D.C. OPM is a federal agency within the meaning of the

18   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1).

19           27.    Defendant Charles Ezell has been the Acting Director of OPM since January 20, 2025.

20   He is sued in his official capacity.

21                                           FACTUAL ALLEGATIONS

22   I.      Statutes and Regulations Governing Termination of Federal Employment

23           A.     Congressional Authorization to Federal Agencies and OPM

24           28.    Congress created the federal agencies that employ federal workers through an exercise

25   of its Article I legislative power. The executive agencies of the federal government are identified in

26   various statutes, including 5 U.S.C. § 101 (listing agencies).

27           29.    Each agency has its own authorizing statutes that govern its administration, including

28   statutory provisions that authorize one or more individuals to act as the head of the agency. See e.g.,

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1    10 U.S.C. §§ 111, 113 (Defense); 12 U.S.C. § 5491 (CFPB); 16 U.S.C. § 551 (Agriculture/Forest

2    Service); 26 U.S.C. §§ 7801, 7803 (IRS); 38 U.S.C. §§ 301, 303 (VA); 42 U.S.C. §§ 202, 203 (HHS);

3    42 U.S.C §§ 281, 282 (NIH); 42 U.S.C. §§3411, 3412 (Education); 42 U.S.C. § 7131 (Energy); 51

4    U.S.C. § 20111 (NASA).

5           30.    Congress has also authorized, in these agency-specific establishing statutes, each

6    agency head to exercise powers of management over that agency and its employees, including the

7    hiring and firing of employees, consistent with any generally applicable laws. For example:

8
           26 U.S.C. §§ 7803, 7804 (IRS: “the Commissioner of Internal Revenue is authorized to
9           employ such number of persons as the Commissioner deems proper for the administration and
10          enforcement of the internal revenue laws, and the Commissioner shall issue all necessary
            directions, instructions, orders, and rules applicable to such persons.”);
11
           42 U.S.C. §§ 7231, 7253 (Energy: “In the performance of his functions the Secretary is
12
            authorized to appoint and fix the compensation of such officers and employees, including
13          attorneys, as may be necessary to carry out such functions. Except as otherwise provided in
            this section, such officers and employees shall be appointed in accordance with the civil
14          service laws …”; “the Secretary is authorized to establish, alter, consolidate or discontinue
15          such organizational units or components within the Department as he may deem to be
            necessary or appropriate.”);
16
           20 U.S.C. § 3461 (Education: “The Secretary is authorized to appoint and fix the
17
            compensation of such officers and employees, including attorneys, as may be necessary to
18          carry out the functions of the Secretary and the Department. Except as otherwise provided by
            law, such officers and employees shall be appointed in accordance with the civil service laws
19          …”);
20
           42 U.S.C. § 203 (HHS: “The Secretary is authorized … to establish within them such
21          divisions, sections, and other units as he may find necessary; and from time to time abolish,
            transfer, and consolidate divisions, sections, and other units and assign their functions and
22
            personnel in such manner as he may find necessary for efficient operation of the Service.”);
23
           12 U.S.C. § 5492 (CFPB: “The Bureau is authorized to establish the general policies of the
24          Bureau with respect to all executive and administrative functions, including—…(7) the
25          appointment and supervision of personnel employed by the Bureau; (8) the distribution of
            business among personnel appointed and supervised by the Director and among
26          administrative units of the Bureau”);
27
           See also, e.g., 16 U.S.C. §§ 551, 554a, e (Agriculture; management and employment in Forest
28          Service); 38 U.S.C. §§ 303, 510 (VA: Secretary; “control, direction, and management of the

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1           Department”; “authority to reorganize offices”); 10 U.S. C. § 113 (DOD: Secretary;
            “authority, direction, and control over the Department of Defense”); 42 U.S.C. § 282 (NIH:
2           Director, management authority); 51 U.S.C. §§ 20111, 20113 (NASA: Administrator “shall
3           have authority and control over all personnel and activities thereof.”).

4
            31.     In addition to the specific authority granted to each agency head by these authorizing
5
     statutes, Congress also enacted a “General authority to employ” that applies to all federal agencies:
6
            Each Executive agency, military department, and the government of the District of Columbia
7           may employ such number of employees of the various classes recognized by chapter 51 of
            this title as Congress may appropriate for from year to year.
8
     5 U.S.C. § 3101.
9
            32.     Besides this specific authority regarding employment decisions, Congress also
10
     delegated general authority to each federal agency head to adopt regulations “for the government of
11
     his department, the conduct of its employees, the distribution and performance of its business…” 5
12
     U.S.C. § 301; see also 5 U.S.C. § 302 (authorizing agency heads to delegate their authority to
13
     subordinate employees).
14
            33.     Congress also enacted the Civil Service Reform Act of 1978 (“CSRA”) to establish
15
     uniform standards for agencies and civil service employment across the federal government. 5
16
     U.S.C. § 2101 (defining “civil service”); § 2015 (defining “employee”). The provisions of the CSRA
17
     include statutes governing agency termination of employees for cause based on performance (5
18
     U.S.C. § 4303(a); 5 U.S.C. § 7513(a)), and agency layoffs (“reductions in force, or “RIFs”) (5 U.S.C.
19
     § 3502).
20
            34.     Congress also established the OPM by statute. 5 U.S.C. § 1101. Congress did not
21
     authorize the OPM to hire or fire any federal employees employed by any agency other than OPM
22
     itself. 5 U.S.C. §§ 1102, 1103. Rather, OPM’s role, as established by Congress, is to act as the
23
     human resources agency for the federal government, including by creating and publishing
24
     government-wide rules in compliance with the APA. 5 U.S.C. §§ 1103, 1105. OPM’s authority with
25
     respect to the termination of employees of other agencies and departments is limited to providing
26
     technical assistance and writing regulations. 5 U.S.C. §§ 4304, 4305, 7514.
27

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1           35.     As the Acting Solicitor General recently confirmed in a petition to the U.S. Supreme

2    Court on behalf of the President and other federal officials, “[a]gency heads control hiring and firing

3    decisions for subordinates—here, an agency of over 100 people who perform important investigative

4    and enforcement functions affecting the entire federal workforce.” Thus, in support of its request to

5    vacate a district court temporary restraining order reinstating the head of the Office of Special

6    Counsel, the federal government argued that the President’s inability to remove the head of the

7    agency deprived him of the power to control agency’s employees—because only the agency head is

8    authorized to hire and fire an agency’s employees.1

9           B.      Probationary and Trial-Period Employees in Federal Service

10          36.     Approximately 200,000 probationary employees are employed in agencies throughout

11   the federal government nationwide.2 Of these, approximately 15,000 are employed in California,

12   providing services that range from fire prevention to veterans’ care.

13          37.     OPM’s mass termination program has swept up two categories of federal employees,

14   whose employment is governed by statute and regulation: probationary employees in the

15   “competitive” service, and employees within their first two years of employment in the “excepted”

16   service. Plaintiffs refer herein to all such employees as “probationary employees.”

17          38.     Probationary employees in the competitive service are, with some exceptions, those

18   who have been employed for less than one year. 5 U.S.C. § 7511(a)(1)(A)(ii); 5 C.F.R. § 315.801.

19   Employees are appointed as “career” or “career-conditional employees” subject to completing the

20   probationary period. 5 C.F.R. § 315.201(a).

21          39.     The probationary period provides the opportunity for the federal agency to assess the

22   individual performance of the employee. Under governing OPM regulations, an agency “shall utilize

23   the probationary period as fully as possible to determine the fitness of the employee and shall

24

25
        1
           Application to Vacate the Order Issued by the U.S. District Court for the District of Columbia and
26   Request for an Immediate Administrative Stay, Bessent v. Dellinger, No. 24A790,
     https://www.documentcloud.org/documents/25536868-dellinger-scotus-emergency-filing/?mode=document at
27   27 (filed U.S. Supreme Court Feb. 16, 2025).
        2
28              https://www.businessinsider.com/trump-administration-fired-probationary-federal-workers-veterans-
     affairs-agencies-2025-2
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1    terminate his or her services during this period if the employee fails to demonstrate fully his or her

2    qualifications for continued employment.” 5 C.F.R. § 315.803(a).

3           40.     Most employees in the excepted service are also subject to a statutory trial period of

4    two years, which, like the probationary period in the competitive service, is intended to permit the

5    agency to evaluate the employee’s performance and fitness for long-term employment. 5 U.S.C. §

6    7511(a)(1)(C)(ii).

7           C.      Regulations Governing the Termination of Probationary Employees

8           41.     Federal agencies may lawfully terminate probationary employees based on the

9    agency’s assessment of the employee’s performance during the probationary period, pursuant to

10   5 C.F.R. § 315.804(a), which is entitled: “Termination of probationers for unsatisfactory performance

11   or conduct.”

12          42.     Under that regulation, “when an agency decides to terminate an employee serving a

13   probationary or trial period because his work performance or conduct during this period fails to

14   demonstrate his fitness or his qualifications for continued employment, it shall terminate his services

15   by notifying him in writing as to why he is being separated and the effective date of the action.” 5

16   C.F.R. § 315.804(a). “The information in the notice as to why the employee is being terminated

17   shall, as a minimum, consist of the agency’s conclusions as to the inadequacies of his performance or

18   conduct.” Id. Trial-period employees in the excepted service have the same notice rights when

19   removed from their positions for performance reasons. 5 C.F.R. § 316.304.

20          43.     Federal agencies may also lawfully terminate a probationary employee “for reasons

21   based in whole or in part in conditions arising before his appointment.” 5 C.F.R. § 515.805.

22          D.      Statutes and Regulations Governing the Termination of Employees as Part of a
                    RIF
23
            44.     Federal agencies may also terminate probationary employees as part of an agency RIF.
24
     An agency may conduct a RIF “to reduce the size of its workforce.” Tiltti v. Weise, 155 F.3d 596, 601
25
     (2d Cir. 1998). “RIFs are not aimed at removing particular individuals; rather, they are directed
26
     solely at positions.” Grier v. Dep’t of Health & Hum. Servs., 750 F.2d 944, 945 (Fed. Cir. 1984).
27

28

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1           45.     Agencies must follow specific statutory directives in conducting a RIF, including

2    detailed requirements for retention preferences, considerations for veterans, and the consideration of

3    tenure of employment and length of service. 5 U.S.C. § 3502(a)(1), (3). Congress delegated to OPM

4    the authority to promulgate regulations that agencies must follow in implementing RIFs. 5 U.S.C. §

5    3502(a).

6           46.     Pursuant to that statutory authorization, and through notice-and-comment rulemaking,

7    OPM has issued detailed regulations setting forth the procedures by which RIFs must be conducted.

8    See 5 C.F.R. Part 351. These RIF regulations apply whenever an agency determines that it is

9    necessary to release employees “because of lack of work; shortage of funds; insufficient personnel

10   ceiling; reorganization; the exercise of reemployment rights or restoration rights; or reclassification

11   of an employee’s position due to erosion of duties … .” 5 C.F.R. § 351.201(a)(2).

12          47.     All agencies of the federal government are required to comply with the RIF

13   regulations whenever an agency “determines that a reduction force is necessary.” 5 C.F.R. § 351.204;

14   see also 5 C.F.R. § 351.201(c) (“Each agency is responsible for assuring that the provisions in this

15   part are uniformly and consistently applied in any one reduction in force.”).

16          48.     The RIF regulations apply to employees in the competitive and excepted services. 5

17   C.F.R. § 351.202(a), (b). Probationary employees are expressly protected by the RIF regulations. 5

18   C.F.R. §§ 351.501(b)(2), 351.502(b)(2). Probationary employees are included in “group II” of three

19   groups of employees, and may only be released, in order of retention, after the release of “group III”

20   employees, a group that includes employees under various temporary, term, and other provisional

21   appointments. 5 C.F.R. § 351.501(b).

22          49.     Before conducting a RIF, a federal agency must establish “competitive areas in which

23   employees compete for retention.” 5 C.F.R. § 351.402. Thus, RIFs are not conducted based on

24   agency-wide seniority. Many probationary employees are veterans or would otherwise be entitled to

25   preference in the event of a RIF.

26          50.     The RIF regulations require that employees receive notice of at least 60 days before

27   being released from employment, or at least 30 days from when the RIF is caused by circumstances

28   that were not reasonably foreseeable. 5 C.F.R. § 351.801(a), (b).

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1              51.   The governing statute and the RIF regulations also require that states and local

2    governments be notified in advance of RIFs of 50 or more employees in an affected geographic area

3    so they can be prepared to assist affected employees. 5 U.S.C. § 3502; 5 C.F.R. § 351.803.

4    II.       OPM’s Unlawful February 13, 2025 Order to Fire Probationary Employees Across the
               Nation
5
               52.   Before the first day of the new Presidential Administration, OPM had never taken the
6
     position that it had the authority to direct other agencies to terminate employees. As of early January
7
     2025, the Acting OPM Director was Rob Shriver. On January 16, 2025, he issued a press release, and
8
     gave an interview discussing OPM’s work with agencies throughout the federal government on issues
9
     ranging from “skills-based federal hiring”; the “”retirement claims backlog”; a “new health insurance
10
     program for Postal workers”; and, significantly, “how agencies recruit and retain early-career
11
     employees.” (Emphasis added).3 No mention was made of any federal government plan to terminate
12
     the employment of probationary employees at any agency, or across the nation.
13
               53.   Before January 20, 2025, OPM had made no public statement regarding any program
14
     to terminate probationary employees. Neither had any agency in the federal government made any
15
     public statement regarding any desire to terminate probationary employees. No union or group of
16
     federal employees had been provided any notice of any program or decision to terminate
17
     probationary employees. On information and belief, before January 20, 2025, OPM had no plans to
18
     order federal agencies to terminate their probationary employees, and no agency had such a plan.
19
               54.   Before January 20, 2025, no OPM Director had ever taken the position that OPM had
20
     the legal authority to direct agencies to terminate the employment of employees of other federal
21
     agencies.
22
               55.   On January 20, 2025, the first day of the incoming Presidential Administration,
23
     President Donald J. Trump appointed Charles Ezell to serve as Acting OPM Director.
24
               56.   The same day, Acting OPM Director Ezell distributed a memo to “Heads and Acting
25
     Heads of Departments and Agencies” regarding “Guidance on Probationary Periods, Administrative
26

27
           3
28         https://federalnewsnetwork.com/workforce/2025/01/after-years-of-work-opm-is-hitting-on-all-cylinders-
     acting-director-says/.
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1    Leave and Details.” In this memo, Acting Director Ezell directed department and agency heads to

2    submit to OPM, no later than January 24, 2025, a report listing all “employees on probationary

3    periods, who have served less than a year in a competitive service appointment, or who have served

4    less than two years in an excepted service appointment.”4 The memorandum directed agencies to

5    “promptly determine whether these employees should be retained at the agency.”5

6              57.    OPM required agencies to adhere to a 200-character limit in any explanation provided

7    as to why any individual employee should be retained by the agency.6

8              58.    On February 11, 2025, President Trump issued Executive Order 14210, entitled

9    “Implementing the President’s ‘Department of Government Efficiency’ Workforce Optimization

10   Initiative.”7 The Executive Order instructed that “Agency Heads shall promptly undertake

11   preparations to initiate large-scale reductions in force (RIFs).”8

12             59.    OPM did not wait for agencies to plan for or initiate any RIF.

13             60.    On February 13, 2025, OPM officials met with agency leaders across the federal

14   government and directed them to begin firing their probationary employees without following RIF

15   procedures.9

16             61.    CBS News has reported that: “The decision on probationary workers, who

17   generally have less than a year on the job, came from the Office of Personnel Management, which

18   serves as a human resources department for the federal government. The notification was confirmed

19   by a person familiar with the matter, who spoke on condition of anonymity because they weren't

20   authorized to discuss it publicly.” (Boldface added.)10

21

22      4
                https://www.opm.gov/media/yh3bv2fs/guidance-on-probationary-periods-administrative-leave-and-
     details-1-20-2025-final.pdf
23
        5
            Id.
24      6
          https://federalnewsnetwork.com/workforce/2025/02/opm-asks-agencies-to-justify-keeping-probationary-
     employees/
25
        7
            https://www.whitehouse.gov/presidential-actions/2025/02/implementing-the-presidents-department-of-
26   government-efficiency-workforce-optimization-initiative/
        8
27          Id.
        9
            https://thehill.com/homenews/administration/5144113-federal-probationary-employees-fired/
28      10
             https://www.cbsnews.com/news/federal-layoffs-probationary-workers-warnings-bigger-cuts-on-way/
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1            62.    On information and belief, as of February 13, 2025, prior to the order from OPM, no

2    federal agency intended to terminate its probationary employees en masse, and no agency intended to

3    terminate probationary employees (other than on an individualized basis for actual performance or

4    conduct reasons) without complying with RIF procedures.

5            63.    Agencies across the federal government began acting on OPM’s February 13 directive

6    immediately through chaotic mass terminations of their probationary employees.11

7            64.    Tens of thousands of probationary employees have already been subjected to mass

8    terminations, with no advance notice, by agencies across the federal government, including

9    employees at the following agencies:

10           U.S. Forest Service12
             Department of Veterans Affairs13
11           Department of Education14
             National Science Foundation15
12           General Services Administration16
             Small Business Administration17
13           Consumer Financial Protection Bureau18
             Department of Energy19
14           National Nuclear Security Administration20
             Housing and Urban Development21
15           Center for Disease Control22

16

17      11
           https://www.washingtonpost.com/politics/2025/02/14/trump-firing-probation-workforce-buyouts-
     layoffs-doge/f816fbea-eb23-11ef-969b-cfbefacb1eb3_story.html
18
        12
             https://www.reuters.com/world/us/mass-firings-federal-workers-begin-trump-musk-purge-us-
19   government-2025-02-13/; https://www.sfgate.com/california-parks/article/joshua-tree-yosemite-locals-protest-
     mass-layoffs-20174425; https://www.nytimes.com/2025/02/18/climate/trump-layoffs-park-and-forest-service-
20   workers.html
         13
             Id.; https://www.washingtonpost.com/nation/2025/02/17/trump-fires-federal-workers-performance/
21       14
             https://www.reuters.com/world/us/mass-firings-federal-workers-begin-trump-musk-purge-us-
     government-2025-02-13/
22       15
             https://www.wired.com/story/national-science-foundation-february-2025-firings/;
     https://www.nytimes.com/2025/02/18/us/politics/national-science-foundation-firings.html.
23       16
             https://www.reuters.com/world/us/mass-firings-federal-workers-begin-trump-musk-purge-us-
     government-2025-02-13/
24       17
             https://www.businessinsider.com/federal-workers-fired-not-fired-then-terminated-sba-2025-2
         18
             https://www.reuters.com/world/us/mass-firings-federal-workers-begin-trump-musk-purge-us-
25   government-2025-02-13/
         19
             https://www.eenews.net/articles/doe-to-lay-off-probationary-staff-today/
26       20
             https://www.npr.org/2025/02/13/nx-s1-5296928/layoffs-trump-doge-education-energy
         21
27           https://www.nbcnews.com/politics/white-house/trump-administration-federal-agencies-fire-
     probationary-employees-rcna192149
28       22
             https://apnews.com/article/trump-firing-probation-workforce-buyouts-layoffs-doge-
     159a6de411622c2eb651016b1e99da37
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1             National Park Service23
              National Institutes of Health24
2             Environmental Protection Agency25
              Bureau of Reclamation26
3             Department of Interior27
              Bonneville Power Association28
4             US Department of Agriculture29
              Bureau of Land Management30
5             US Fish and Wildlife31
              Cybersecurity and Infrastructure Security Agency32
6             US Citizenship and Immigration Services33
              Federal Emergency Management Agency34
7             Federal Aviation Administration35
              Department of Transportation36
8             Food and Drug Administration37
              National Highway Traffic Safety Administration38
9             Pipelines and Hazardous Materials Safety Administration39
              Centers for Medicare & Medicaid Services40
10            Substance Abuse and Mental Health Services Administration41

11

12       23
             https://www.nytimes.com/2025/02/18/us/politics/national-science-foundation-firings.html (1000 NPS
     employees)
13       24
             https://www.nbcwashington.com/news/president-trump-politics/taking-away-years-of-experience-nih-
     probationary-employees-fired-friday/3845749/
14       25
             https://abcnews.go.com/US/agencies-federal-workers-fired/story?id=118901289
         26
15           https://www.nytimes.com/2025/02/18/us/politics/national-science-foundation-firings.html
         27
             Id. (1300 Interior Dept employees fired over holiday weekend).
         28
16           https://www.opb.org/article/2025/02/19/bonneville-power-administration-reverses-30-job-cuts-
     continues-with-plans-to-eliminate-430-positions/
17       29
             https://www.npr.org/2025/02/18/nx-s1-5300150/among-the-federal-workers-fired-usda-workers-who-
     keep-food-safe-and-crops-growing
18       30
             https://www.nytimes.com/2025/02/18/us/politics/national-science-foundation-firings.html;
     https://www.cnn.com/2025/02/14/politics/probationary-federal-employees-agencies-firings-doge/index.html
19       31
             https://www.cnn.com/2025/02/14/politics/probationary-federal-employees-agencies-firings-
     doge/index.html
20       32
             https://thehill.com/homenews/5154340-dhs-fires-probationary-employees/
21       33
             Id.
         34
             https://www.politico.com/news/2025/02/19/fema-email-firings-affect-majority-staff-00204779
22       35
             https://apnews.com/article/doge-faa-air-traffic-firings-safety-67981aec33b6ee72cbad8dcee31f3437
         36
23           https://www.nbcphiladelphia.com/news/national-international/transportation-department-workers-with-
     exceptional-reviews-told-theyre-fired-for-performance-issues/4111423/?os=iosdF&ref=app
24       37
             https://www.nytimes.com/2025/02/18/us/politics/fda-food-safety-jim-jones-resignation.html (terminated
     workers “included people with specialized skills in infant formula safety and food safety response”; FDA food
25   safety chief resigns because “loss of critical employees overseeing the nation’s food supply made his work
     impossible”).
26       38
             https://www.politico.com/news/2025/02/18/layoffs-auto-pipeline-safety-00204715
         39
             Id.
27       40
             https://www.fiercehealthcare.com/regulatory/mass-layoffs-hhs-cdc-cuts-1300-probationary-workers-
     reports-say
28       41
             Id.
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1            Federal Deposit Insurance Corporation42

2            65.    While implementing OPM’s orders, numerous federal agencies informed workers that

3    OPM ordered the terminations. For example, at the National Science Foundation meeting for

4    probationary employees, employees were told the following:

5            You’ve been invited here today because you were either a probationary employee or you are
             an expert on intermittent appointment.
6
             We’ve asked you here today to tell you face to face that we will be terminating your
7
             employment at the end of the day today.
8
             We’ve been directed by the administration to remove all term probationary employees.
9
             Today at 11 o’clock, each of you will receive a termination letter by email.
10
             At 1 p.m, you will lose access to the network[.] And at the end of the day today, you'll be
11
             terminated.
12
             You ready? You have one more thing. You have the option to resign in lieu of termination.
13
             That may be beneficial to you. If you choose to resign, you will not be eligible for
14           unemployment.
15
             However, if asked when you apply for future positions, you will be able to say that you were
16           not terminated.

17           So for those of you that have federal benefits. Sorry. Okay. For those of you that have
             federal benefits, your health insurance will be terminated at the end of the pay period.
18

19           Your federal dental and vision insurance plan, they will terminate at the end of the pay period.
             There is no extension for coverage under FedVIP.
20           …
             This is in executing Government-wide guidance from the administration. I’m sure you’ve
21           read in the news that all agencies are terminating probationary employees.
             …
22           So there was no limited discretion. This is not a decision the agency made. This is a
23           direction we received, first of all. Second of all, this is the first of many forthcoming
             workforce reductions.
24           …
             We are following orders. We are part of the executive branch. We follow that. I apologize for
25           people that have made life-changing career moves.
             …
26

27
        42
28        https://www.reuters.com/world/us/fdic-fires-new-employees-part-broader-government-layoffs-2025-02-
     18/
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1           We were directed last Friday by OPM to terminate all probationers except for a minimal
            number of mission critical probationers.
2           Mission critical determination, first of all, it is exceptionally small number that we’re
            permitted to have.
3
            …
4           There’s no negotiation, first of all. And second of all, the administration has already
            announced its intention to significantly reduce the workforce.
5
            It is only a matter of time. It is not today is not the only workforce reduction that we will do.
6
            (Emphasis added.)
7
            66.      The NSF explained that the agency had previously been told that it would have
8
     discretion to retain workers, and had in fact made the decision to retain all of its probationary
9
     employees, only to have OPM issue a superseding order on February 13, 2025 requiring the agency
10
     to terminate everyone:
11
            We did. In the last two weeks. Up until Friday. Yes. We were told by OPM it was the
12          agency’s discretion whether to remove probations or not.
13
            We chose to retain them all. Last Friday night.
14
            They gave direction to there was some direction that was given to cabinet level agencies. And
15          so you saw those actions taking place at the end of last week.
16          But the directions we received were it was our discretion. And late, late Friday night….
17          They told us that they directed us to remove probationers.
18          (Emphasis added.)
19          67.      On information and belief, OPM required agencies to use template letters, which OPM
20   created and provided to the agencies, to be sent to those agencies’ probationary employees, citing
21   performance as the basis for the termination.
22          68.      Reflecting that directive, many agencies have used identical or nearly identical text in
23   letters notifying probationary employees of their termination. For example:
24                a. Termination letters received by probationary employees in multiple agencies,
25                   including the Departments of Homeland Security, Health and Human Services,
26                   Agriculture, and Education, included identical introductory language stating as
27                   follows, with identical footnotes and footnote text:
28

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1                              Guidance from the Office of Personnel Management (“OPM”) states,
                               “An appointment is not final until the probationary/trial period is over,”
2                              and the probationary/trial period is part of “the hiring process for
3                              employees.”[1] “A probationer is still an applicant for a finalized
                               appointment to a particular position as well as to the Federal
4                              service.”[2] “Until the probationary period has been completed,” a
                               probationer has “the burden to demonstrate why it is in the public
5
                               interest for the Government to finalize an appointment to the civil
6                              service for this particular individual.”[3]

7                   b. Termination letters received by probationary employees in multiple agencies included
8                      the following boilerplate language describing the reasons for their termination: “The
9                      Agency finds, based on your performance, that you have not demonstrated that your
10                     further employment at the Agency would be in the public interest.” (Boldface added).
11                  c. Similarly, termination letters received by probationary employees in multiple agencies
12                     included the following boilerplate language describing the reasons for their
13                     termination: “Unfortunately, the Agency finds that that you are not fit for continued
14                     employment because your ability, knowledge and skills do not fit the Agency’s current
15                     needs, and your performance has not been adequate to justify further employment at
16                     the Agency.” (Boldface added).43
17            69.      At the National Science Foundation meeting reference above, employees were told the
18   language in the letters came from the “boilerplate” language from OPM:
19            “The cause comes from boilerplate we received from OPM. The cause says that the agency
20            finds based on your performance that you have not demonstrated that your further
              employment at the agency would be in the public interest.”
21

22            70.      The termination letters issued to probationary employees cite, as authority for the

23   terminations, the regulations that govern terminations for performance reasons: 5 C.F.R. § 315.803

24   (directing agencies to terminate probationary employees “if the employee fails to demonstrate fully

25
         43
             Recent reporting by the Washington Post revealed similar templates and instructions by OPM to agencies
26   in January and February 2025 with respect to employees unlawfully targeted for termination and/or
     administrative leave because of perceived participation in work related to Diversity, Equity, and Inclusion
27   programs. Washington Post, Feb. 15, 2025, Records show how DOGE planned Trump’s DEI purge — and who
     gets fired next, available at: https://wapo.st/4jVWqEd.
28

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1    his or her qualifications for continued employment”); 5 C.F.R. § 315.804 (requiring notice of the

2    reasons when an agency “decides to terminate an employee serving a probationary or trial period

3    because his work performance or conduct during this period fails to demonstrate his fitness or his

4    qualifications for continued employment,” including a statement of the “agency’s conclusions as to

5    the inadequacies of [the employee’s] performance or conduct”); and 5 C.F.R. § 316.304 (entitling trial

6    period employees in the excepted service to the same notice rights upon termination for performance

7    reasons as probationary employees in the competitive service).

8            71.    Despite the citation of these authorities in the template termination letters, the letters

9    fail to provide any individualized reasons why the employees’ performance warranted termination.

10   Many termination letters appear to have been created by means of mail merges. Some termination

11   letters do not even specify the name of the employee being terminated.

12           72.    The reference to employee performance in the mass termination letters and the citation

13   to the authority for the termination of probationary employees for performance reasons is a pretext.

14   The real reason for the mass terminations, as expressed by the incoming Presidential Administration,

15   is to reduce the size of the federal workforce.

16           73.    Many terminated probationary employees had received excellent performance reviews

17   from their agencies. Supervisors were not consulted as to the performance of individual probationary

18   employees before they were terminated. On information and belief, some probationary employees

19   have subsequently been told by agency representatives that they were terminated solely because their

20   agencies were being restructured, not based on any performance or conduct by the employee.

21           74.    USA Today recently reported that “Fired probationary employees interviewed by USA

22   TODAY all said they were never told of any performance problems. One hadn’t been in the job long

23   enough to have a performance review. Another was fired just a month into her job after relocating

24   from more than 1,700 miles away to take it. And a third employee said his supervisor explicitly told

25   him he wasn’t being terminated for performance reasons.44

26

27
        44
28         https://www.msn.com/en-us/news/us/its-a-lie-federal-workers-incensed-by-performance-language-in-
     termination-letters/ar-AA1zcrmN?ocid=BingNewsSerp
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1                 75.     NBC News reported that although Department of Transportation probationary

2    employees received letters stating that they were being terminated for performance reasons, “most of

3    those employees were rated as being ‘exceptional’ performers by their supervisors.”45

4                 76.     The Washington Post reported that: “One well-rated Veterans Affairs staffer texted her

5    boss to complain after she was fired. In text messages obtained by The Post, he replied, “It states it’s

6    due to your performance which is not true. … Your performance has nothing to do with this.’”46

7                 77.     On information and belief, Defendants plan further waves of mass pretextual

8    terminations of probationary employees.

9    III.         Impact on Plaintiffs, the Federal Government, and the Public

10                78.     Plaintiffs AFSCME, AFGE, AFGE Local 1216, AFGE Local 2110, and UNAC

11   (hereafter “Union Plaintiffs”) each represent probationary employees who have been summarily fired,

12   and falsely informed that their termination was based on performance, as a result of OPM’s orders to

13   federal agencies, or who are at risk of summary termination as a result of OPM’s orders.

14                79.     Each Union Plaintiff has the core function of representing employees in federal

15   bargaining units in collective bargaining and providing counseling, advice, and representation to

16   represented employees in the event of adverse employment actions.

17                80.     Each Union Plaintiff has been prevented, by the surprise mass terminations, from

18   exercising those core functions as employee representative, including because by providing sham

19   reasons for probationary employees’ terminations, OPM has undermined the Plaintiffs’ ability to

20   effectively assist represented employees in vindicating their rights and seeking appropriate remedies.

21                81.     Each Union Plaintiff has expended substantial time and resources in the days

22   following the surprise mass terminations addressing member concerns and attempting to provide

23   employees with effective representation. As a result of the surprise mass terminations, each Plaintiff

24   has been forced to divert resources that would be devoted to representing employees who have

25   experienced adverse employment action for legitimate resources.

26

27          45
          https://www.nbcnews.com/politics/doge/federal-workers-exceptional-reviews-fired-performance-issues-
     rcna192347
28          46
                 https://www.washingtonpost.com/nation/2025/02/17/trump-fires-federal-workers-performance/
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1           82.     Each Union Plaintiff has been harmed in multiple other ways by the termination of its

2    members, including by the loss of dues income and bargaining power.

3           83.     Each Union Plaintiff has organizational standing to sue in its own right and has

4    associational standing to sue on behalf of its members.

5           84.     Plaintiff Main Street Alliance’s members face imminent harm as a result of the

6    anticipated reductions and delays in services provided by the Small Business Administration, on

7    which its members rely for critical services. Those services include but are not limited to: loan

8    guarantees to enable small businesses to obtain financing to start up or grow; and emergency disaster

9    relief, such as in response to the January 2024 Los Angeles wildfires and Hurricane Helene in

10   Western North Carolina.

11          85.     Plaintiff Coalition to Protect America’s National Parks’ members face imminent harm

12   as a result of the anticipated reductions and delays in services provided by the National Park Service.

13   The Coalition’s members are regular and avid users of America’s national parks who would be

14   adversely affected by any degradation of the parks or the programs of the NPS to preserve and protect

15   the parks and make them available to visitors. Such degradation in safety and services provided to

16   the public in the National Parks is inevitable based on experience in prior government shutdowns and

17   with reductions in services in those circumstances.

18          86.     Plaintiff Western Watersheds Project faces imminent harm to its mission to protect and

19   restore wildlife and public lands. The mass termination is likely to cause further degradation of

20   public lands and wildlife.

21          87.     Plaintiff VoteVets faces imminent harm to its supporters who are veterans and who

22   rely on the VA medical system and other critical federal services provided to veterans. The VA has

23   dismissed over 1,000 probationary employees across various roles, including those in mental health

24   research, cancer treatment, addiction recovery, prosthetics, and burn pit exposure studies. The mass

25   termination has also hindered the recruitment of essential support staff for the Veterans Crisis Line,

26   which provides critical emergency mental health care (including suicide prevention) and support for

27   military veterans, service members, their families, and caregivers positions such as trainers and

28   quality assurance personnel. The mass termination of probationary employees is likely to impair the

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1    quality of these essential services. The mass termination has also directly harmed VoteVets as an

2    organization. The time of VoteVets’ staff and consultants has been diverted from VoteVets’ regular

3    activities to field and respond to inquiries from veterans and their families and to connect them with

4    case workers in congressional offices.

5             88.     Plaintiff Common Defense also faces imminent harm to itself and its members. Its

6    veteran members also rely on services provided by the VA medical system and other critical mental

7    health services available to veterans. The mass termination creates the risk of severe disruption to

8    those services. Further, Common Defense has had to devote considerable resources to responding to

9    requests from its members and providing guidance about the mass probationary terminations,

10   diverting resources that Common Defense ordinarily devotes to its other core priorities.

11            89.     Terminated employees and their families now face an immediate loss of income and

12   benefits (including health benefits); economic insecurity; the immediate need to search for alternative

13   employment; and the future adverse impact of an employment termination falsely predicated on

14   performance.

15            90.     OPM’s actions have already had impacts in California beyond terminated employees,

16   their families, and their representatives. For example, “the Trump administration has already made

17   the United States more exposed to catastrophic wildfires in ways that will be difficult to reverse,

18   current and former federal employees say….The job cuts, which amount to roughly 10 percent of the

19   agency’s work force, could hobble the Forest Service, which was already struggling to remove

20   vegetation across its vast land holdings at a pace that matches the growing threat from fires,

21   according to current and former federal employees, as well as private companies and nonprofit

22   organizations that work on thinning forested lands.” 47 The effects have been immediate:

23            In California, the Forest Service’s efforts to remove underbrush are on pause, according to a
              person who manages an organization that runs wildfire prevention projects in the state and
24            who spoke on the condition of anonymity out of concern of reprisals. 48
25
             IV.     OPM’s February 22, 2025 New Reporting Program for All Federal Workers
26

27
        47
             https://www.nytimes.com/2025/02/15/climate/us-forest-service-layoffs-wildfires.html
28      48
             https://www.nytimes.com/2025/02/15/climate/us-forest-service-layoffs-wildfires.html
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1           91.     On February 22, 2025, OPM began to implement a new mandatory reporting program

2    for all federal employees throughout the federal government. OPM has ordered all federal employees

3    to submit e-mail reports justifying their work.

4           92.     Prior to February 22, 2025, federal employees were not required to submit any reports

5    regarding their work to OPM. On information and belief, no OPM rule, regulation, policy, or

6    program has ever, in United States history, purported to require all federal workers to submit reports

7    to OPM.

8           93.     On February 22, 2025, employees throughout the federal government, employed at

9    many different agencies, received the same email, from the address: hr@opm.gov.

10          94.     Prior to January 20, 2025, no such email address existed for use by OPM or within the

11   federal government.

12          95.     On information and belief, this e-mail is being sent under the purported authority of

13   OPM.

14          96.     On information and belief, this e-mail was sent to over 2 million federal employees.

15          97.     The message was sent with “High Importance.”

16          98.     The message was not signed by any government official, nor did it identify the head of

17   agency on whose behalf it was sent, the authority or program under which it was sent.

18          99.     The title of the email was: “What did you do last week?”

19          100.    The body of the email stated:

20          Please reply to this email with approx. 5 bullets of what you accomplished last
            week and cc your manager.
21
            Please do not send any classified information, links, or attachments.
22

23          Deadline is this Monday at 11:59 EST.

24          101.    On February 22, 2025 a social media account purporting to belong to an individual
25   named Elon Musk (@elonmusk), who has been identified by the President as the head of the federal
26   agency known as Department of Government Efficiency (“DOGE”), posted the following message:
27          Consistent with President @realDonaldTrump’s instructions, all federal
            employees will shortly receive an email requesting to understand what they got
28          done last week.
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1
                Failure to respond will be taken as a resignation.
2
                102.     Prior to February 22, 2025, no notice was published, in the Federal Register or
3
     anywhere else, regarding any OPM program, rule, policy, or regulation requiring all federal
4
     employees to provide a report regarding their work to OPM. Prior to February 22, 2025, no notice
5
     was published, in the Federal Register or anywhere else, regarding any program, rule, policy, or
6
     regulation under which employees who failed to respond to an email from hr@opm.gov requesting
7
     such a report would be considered to have submitted a “resignation” of federal employment.
8
                103.     OPM has not complied with any procedural requirements in the APA, 5 U.S.C. §553,
9
     with respect to this new program. Subsequent to the OPM email notification on February 22, 2025,
10
     at least some federal agencies, including the Federal Bureau of Investigation, began telling their
11
     employees not to respond to this OPM surprise request.
12
                                                 CLAIMS FOR RELIEF
13
                                       Claim I: Separation of Powers/Ultra Vires
14

15                     OPM’s Order to Federal Agencies to Terminate Probationary Employees
                            Unlawfully Conflicts with and Overrides Legislative Power
16
                104.     Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
17
                105.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official
18
     action that is ultra vires.
19
                106.     The Constitution vests the legislative power in Congress. U.S. Const., art. I. Federal
20
     legislation must be passed by both chambers of Congress before it may be presented to the President,
21
     and, if signed, become law. U.S. Const., art. I.; I.N.S. v. Chadha, 462 U.S. 919, 951 (1983).
22
                107.     The Constitution vests executive power in the President. U.S. Const., art. II, and
23
     imposes on the President a duty to “take Care that the Laws be faithfully executed.” U.S. Const. art.
24
     II, § 3.
25
                108.     The President and Executive Branch have no constitutional power to unilaterally
26
     enact, amend, or repeal parts of duly enacted statutes. Clinton v. City of New York, 524 U.S. 417,
27
     438–39 (1998). The declared purpose of separating and dividing the powers of government was to
28

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1    “diffus[e] power the better to secure liberty.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

2    635 (1952) (Jackson, J., concurring); see also Bowsher v. Synar, 478 U.S. 714, 721–22 (1986)

3    (“Justice Jackson’s words echo the famous warning of Montesquieu, quoted by James Madison in

4    The Federalist No. 47, that ‘there can be no liberty where the legislative and executive powers are

5    united in the same person, or body of magistrates’....” The Federalist No. 47, p. 325 (J. Cooke ed.

6    1961).”).

7            109.   Congress exercised its Article I legislative authority to create the agencies of the

8    federal government. See generally United States Code, Title 5 (Government Organization and

9    Employees). To the agency heads, Congress has also expressly delegated the power to manage the

10   functions of the agencies, including the right to employ and discharge subordinate employees of the

11   agencies and to spend appropriated funds on those positions.

12           110.   In addition to specific authorizing statutes, Congress has also generally authorized the

13   heads of administrative agencies to make employment decisions (5 U.S.C. § 3101), manage the

14   employees of that agency (5 U.S.C. § 301), or delegate to subordinate officers the management

15   decisions, including the hiring and firing of employees (5 U.S.C. § 302).

16           111.   Congress also made the federal administrative agencies subject to the requirements of

17   the CSRA, which sets forth uniform rules pertaining to employment for the civil service across

18   federal agencies. The agencies, led by their agency heads, are obligated by Congress to comply with

19   the CSRA with respect to their employees.

20           112.   The OPM Program requiring federal agencies to remove probationary employees

21   throughout the federal government unlawfully usurps the legislative authority of Congress and is

22   therefore ultra vires, by overriding the direct Congressional authorization of agency heads to manage

23   the affairs and employees of their respective agencies, including by overriding each of the following

24   statutes:

25           a.     The authorization to all agencies to employ: 5 U.S.C. § 3101;

26           b.     The authorization to all agencies to manage agency affairs via rules, including rules
                    for employment: 5 U.S.C. §§ 301, 302;
27

28           c.     The specific authorizing statutes for each federal agency, which create the office of
                    agency head to administer the agencies, and enumerate the duties of the agency heads
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1                   including with respect to employment: e.g., 26 U.S.C. §§ 7803, 7804 (IRS); 42 U.S.C.
                    §§ 7231, 7253 (DOE); 20 U.S.C. § 3461 (Dept. of Ed.); 42 U.S.C. § 203 (HHS); 12
2                   U.S.C. § 5492 (CFPB); 16 U.S.C. §§ 551, 554a, e (Agr.; Forest Service); 38 U.S.C. §
                    303, 510 (VA): 10 U.S.C. § 113 (DOD): 42 U.S.C. § 282 (NIH); 51 U.S.C. §§
3
                    20111, 20113 (NASA).
4
            d.      The CSRA authorization to agencies that govern employee removal: 5 U.S.C. §§
5                   7512, 7513;
6           e.      The CSRA provisions that apply to agency RIFs, which authorize OPM to create
                    regulations by which agencies may conduct RIFs of their employees: 5 U.S.C. § 3502;
7
                    see also 5 C.F.R. § 351.204 Responsibility of agency (“Each agency covered by this
8                   part is responsible for following and applying the regulations in this part when the
                    agency determines that a reduction force is necessary.”); id. § 351.205 Authority of
9                   OPM (“The Office of Personnel Management may establish further guidance and
                    instructions for the planning, preparation, conduct, and review of reductions in
10                  force.”).
11
            113.    OPM’s actions also exceed any statutory authority granted to it by Congress. In
12
     creating OPM and delegating duties to its Director, Congress did not authorize OPM or its Director to
13
     order the termination of employees at any other federal agency. See 5 U.S.C. § 1103 (authorizing
14
     Director of OPM to “appoint[] individuals to be employed by the Office” and “direct[] and
15
     supervis[e] employees of the Office, distribut[e] business among employees and organizational units
16
     of the Office, and direct[e] the internal management of the Office”) (emphases added).
17
            114.    OPM’s actions were not authorized by any Article II Executive power, because no
18
     Article II constitutional power authorizes OPM to order federal agencies created by Congress to
19
     discharge subordinate agency employees, or to direct agencies to rely on false statements regarding
20
     employee performance to effectuate the discharged ordered by OPM.
21
            115.    Therefore, OPM’s order to the federal agencies to terminate probationary employees
22
     was issued without legal authority and is ultra vires.
23

24                      Claim II: Administrative Procedures Act Section 706(2)(A) and (C)
                        (Action Inconsistent with Law and Exceeding Statutory Authority)
25
                    The OPM Order to Terminate Probationary Employees Government-Wide
26                        Violates Statutes Governing Agency Powers and the CSRA
27          116.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
28

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1            117.    Plaintiffs Unions’ federal employee members are subject to the requirements of the

2    OPM order that all federal agencies terminate probationary employees, and Plaintiffs and their

3    members and supporters are persons who have suffered legal wrong as a result of, and have been

4    adversely affected or aggrieved by, OPM and Acting OPM Director’s actions for purposes of 5

5    U.S.C. § 702.

6            118.    OPM is an agency that Congress has made subject to the APA. 5 U.S.C. § 701.

7    OPM’s mass termination program and order to federal agencies constitutes final agency action under

8    the APA. 5 U.S.C. § 704.

9            119.    Under the APA, a court shall “hold unlawful and set aside agency action” that is

10   “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” (5 U.S.C. §

11   706(2)(A)), or that is “in excess of statutory jurisdiction, authority, or limitations, or short of statutory

12   right” (5 U.S.C. § 706(2)(C)).

13           120.    The actions of OPM and its Acting Director, including but not limited to the OPM

14   program requiring federal agencies to terminate probationary employees, violate the Administrative

15   Procedure Act because they are inconsistent with law in violation of 5 U.S.C. § 706(2)(A), and

16   exceed statutory authority, in violation of 5 U.S.C. § 706(2)(C), and are for those reasons also

17   arbitrary and capricious in violation of 5 U.S.C. § 706(2)(A).

18           121.    The actions of OPM and its Acting Director overriding the direct Congressional

19   authorization of agency heads to manage the affairs and employees of their respective agencies,

20   including by overriding each and every one of the following statutes:

21           a.      The authorization to employ: 5 U.S.C. § 3101;

22           b.      The authorization to manage agency affairs via rules, including rules for employment:
                     5 U.S.C. §§ 301, 302;
23

24           c.      The specific authorizing statutes for each federal agency, which create the office of
                     agency head to administer the agencies, and enumerate the duties of the agency heads
25                   including with respect to employment: e.g., 26 U.S.C. §§ 7803, 7804 (IRS); 42 U.S.C.
                     §§ 7231, 7253 (DOE); 20 U.S.C. § 3461 (Dept. of Ed.); 42 U.S.C. § 203 (HHS); 12
26                   U.S.C. § 5492 (CFPB); 16 U.S.C. § 551, 554a, e (Agr.; Forest Service); 38 U.S.C. §§
                     303, 510 (VA): 10 U.S. C. § 113 (DOD): 42 U.S.C. § 282 (NIH); 51 U.S.C. §§
27
                     20111, 20113 (NASA).
28

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1              d.     The CSRA authorization to agencies that govern employee removal: 5 U.S.C. §§
                      7512, 7513;
2
               e.     The CSRA provisions that apply to agency RIFs, which authorize OPM to promulgate
3
                      regulations by which agencies may conduct RIFs of their employees: 5 U.S.C. § 3502;
4                     see also 5 C.F.R. § 351.204 Responsibility of agency (“Each agency covered by this
                      part is responsible for following and applying the regulations in this part when the
5                     agency determines that a reduction force is necessary.”); id., § 351.205 Authority of
                      OPM (“The Office of Personnel Management may establish further guidance and
6                     instructions for the planning, preparation, conduct, and review of reductions in
                      force.”).
7

8              122.   OPM’s actions also exceed any statutory power or duties granted by Congress to

9    OPM. In creating OPM and delegating duties to its Director, Congress did not authorize OPM or its

10   Director to order the removal of employees employed by any other federal agency. See 5 U.S.C. §

11   1103 (authorizing Director of OPM to “appoint[] individuals to be employed by the Office” and

12   “direct[] and supervis[e] employees of the Office, distribut[e] business among employees and

13   organizational units of the Office, and direct[e] the internal management of the Office”) (emphases

14   added).

15       Claim III: Administrative Procedures Act Section 706(2)(A) (Arbitrary and Capricious)

16              The OPM Order to Terminate Probationary Employees Government-Wide by Falsely
                          Invoking Performance is Arbitrary and Capricious
17
               123.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
18
               124.   Plaintiff Unions’ federal employee members are subject to the requirements of the
19
     OPM order to federal agencies to terminate probationary employees, and Plaintiffs and their members
20
     and supporters are persons who have suffered legal wrong as a result of, and have been adversely
21
     affected or aggrieved by, OPM and Acting OPM Director’s actions for purposes of 5 U.S.C. § 702.
22
               125.   OPM is an agency that Congress has made subject to the APA. 5 U.S.C. § 701.
23
     OPM’s order to federal agencies constitutes final agency action under the APA. 5 U.S.C. § 704.
24
               126.   The actions of OPM and its Acting Director, including but not limited to the OPM
25
     program requiring federal agencies to terminate probationary employees, violate the APA because
26
     they are arbitrary and capricious, in violation of 5 U.S.C. § 706(2)(A), for reasons that include the
27
     following: OPM’s actions are based on the fiction that the employees are being terminated for
28

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1    performance reasons; OPM’s actions are intended to deprive terminated employees of an

2    administrative remedy; OPM’s actions required agencies to terminate employees immediately, often

3    with only a few hours notice; OPM’s actions required agencies to violate commitments made to

4    employees and the agency’s own plans for those employees; and OPM’s actions had no relationship

5    to agencies’ staffing needs or statutory mandates.

6
                        Claim IV: Administrative Procedures Act Section 706(2)(D)
7                         (Notice and Comment Rulemaking; Mass Termination)
8             The OPM Order to Terminate Probationary Employees Government-wide is Void for
9                 Failure to Comply with Required Notice and Comment Rulemaking

10          127.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth Herein.

11          128.    Plaintiff Unions’ federal employee members are subject to the requirements of the

12   OPM Program requiring federal agencies to terminate probationary employees and Plaintiffs and

13   their members and supporters are persons who have suffered legal wrong as a result of, and have

14   been adversely affected or aggrieved by, OPM and Acting OPM Director’s actions for purposes of 5

15   U.S.C. § 702. Had OPM followed notice-and-comment procedures required by the APA, Plaintiffs

16   would have provided comments about the OPM Program.

17          129.    OPM is an agency that Congress has made subject to the APA. 5 U.S.C. § 701.

18   OPM’s order to federal agencies constitutes final agency action under the APA. 5 U.S.C. § 704.

19          130.    Under the APA, a court shall “hold unlawful and set aside agency action …found to be

20   …. without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

21          131.    The OPM Order directing agencies to terminate probationary employees is a “rule” for

22   purposes of the APA. 5 U.S.C. § 551(4).

23          132.    Congress assigned to the Director of OPM the duty of “executing, administering, and

24   enforcing—(A) the civil service rules and regulations of the President and the Office and the laws

25   governing the civil service.” 5 U.S.C. § 1103(a)(5)(1). Congress also required that “in the exercise

26   of the functions assigned under this chapter, the Director shall be subject to subsections (b), (c), and

27   (d) of section 553 of this title.” 5 U.S.C. § 1105. Congress expressly made the requirements of

28   section 553 apply to OPM actions “notwithstanding subsection (a) of such section 553,” which

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1    otherwise exempts “matter[s] relating to agency management or personnel or to public property,

2    loans, grants, benefits, or contracts.” 5 U.S.C. § 553(a).

3           133.     Notwithstanding the OPM Director’s express obligations pursuant to 5 U.S.C. §§ 1103

4    and 1105 to comply with notice and comment rule-making pursuant to the APA, neither OPM nor its

5    Acting Director complied with the rule-making provisions set forth in 5 U.S.C. § 553 before issuing

6    the OPM order directing agencies to terminate probationary employees.

7           134.     OPM’s order directing agencies to terminate probationary employees therefore also

8    violates 5 U.S.C. § 706(2)(D) by failing to observe procedures required by law.

9                        Claim V: Administrative Procedures Act Section 706(2)(D)
                       (Notice and Comment Rulemaking; Email Reporting Program)
10
              The OPM Program Requiring Federal Employees to Submit Reports by Email is Void
11
                 for Failure to Comply with Required Notice and Comment Rulemaking
12
            135.     Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth Herein.
13
            136.     Plaintiff Unions’ federal employee members are subject to the requirements of the
14
     OPM Program requiring federal employees submit e-mail reports to opm.gov reporting on “what you
15
     accomplished last week.” Plaintiffs and their members and supporters are persons who have suffered
16
     legal wrong as a result of, and have been adversely affected or aggrieved by, OPM and Acting OPM
17
     Director’s actions for purposes of 5 U.S.C. § 702. Had OPM followed notice-and-comment
18
     procedures required by the APA, Plaintiffs would have provided comments about the OPM Program.
19
            137.     OPM is an agency that Congress has made subject to the APA. 5 U.S.C. § 701.
20
     OPM’s new program for federal employee reporting constitutes final agency action under the APA. 5
21
     U.S.C. § 704.
22
            138.     Under the APA, a court shall “hold unlawful and set aside agency action …found to be
23
     …. without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).
24
            139.     The OPM’s new program for federal employee reporting is a “rule” for purposes of the
25
     APA. 5 U.S.C. § 551(4).
26
            140.     Congress assigned to the Director of OPM the duty of “executing, administering, and
27
     enforcing—(A) the civil service rules and regulations of the President and the Office and the laws
28
     governing the civil service.” 5 U.S.C. § 1103(a)(5)(1). Congress also required that “in the exercise
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1    of the functions assigned under this chapter, the Director shall be subject to subsections (b), (c), and

2    (d) of section 553 of this title.” 5 U.S.C. § 1105. Congress expressly made the requirements of

3    section 553 apply to OPM actions “notwithstanding subsection (a) of such section 553,” which

4    otherwise exempts “matter[s] relating to agency management or personnel or to public property,

5    loans, grants, benefits, or contracts.” 5 U.S.C. § 553(a).

6           141.    Notwithstanding the OPM Director’s express obligations pursuant to 5 U.S.C. §§ 1103

7    and 1105 to comply with notice and comment rule-making pursuant to the APA, neither OPM nor its

8    Acting Director complied with the rule-making provisions set forth in 5 U.S.C. § 553 before

9    commencing OPM’s new program for federal employee reporting government-wide.

10          142.    OPM’s new program for federal employee reporting therefore violates 5 U.S.C. §

11   706(2)(D) by failing to observe procedures required by law.

12                                          PRAYER FOR RELIEF

13          Wherefore, Plaintiffs pray that this Court:

14          1.      Declare that OPM’s new programs 1) requiring federal agencies to terminate
15   probationary employees and 2) requiring federal employees to report to OPM are unlawful;
16          2.      Enter preliminary or permanent injunctive relief setting aside OPM’s order as
17   unlawful; requiring Defendants, and all persons acting in concert with them, to cease terminations of
18   probationary employees pursuant to OPM’s program and order; and requiring Defendants, and all
19   persons acting in concert with them, to rescind the prior unlawful terminations of probationary
20   employees pursuant to OPM’s Order.
21          3.      Enter preliminary or permanent injunctive relief setting aside OPM’s order as
22   unlawful; requiring Defendants, and all persons acting in concert with them, to cease requiring
23   federal employees to report to OPM, and take no action against any employee who fails to respond to
24   OPM’s instructions to report;
25          4.      Award Plaintiffs their costs, reasonable attorneys’ fees, and other disbursements as
26   appropriate;
27          5.      Grant such other and further relief as the Court deems just and proper.
28

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